Case 6:09-cr-00041-JRH-CLR Document 239 Filed 05/19/17 Page 1 of 2




                   IN THE    UNITED   STATES   DISTRICT    COURT
                   FOR THE   SOUTHERN DISTRICT      OF    GEORGIA
                              STATESBORO DIVISION




UNITED     STATES    OF AMERICA          *


              v.                         *       CR 609-041-03


JARVIS     FERNANDO    WASHINGTON        *




                                      ORDER




      In    the     captioned     criminal      matter,      Defendant      Jarvis

Fernando Washington has filed a motion to suspend his period

of   ineligibility for          federal benefits.          On   July   9,    2009,

Washington pled guilty to one count of distribution of 5 grams

or more of cocaine base within 1,000 feet of a school zone, in

violation of 21 U.S.C.          §§ 841(a) (1)     and 860.      On December 1,

2009, Washington was sentenced to 87 months imprisonment and

eight years of supervised release.                   Invoking 21 U.S.C.           §

862(a),     the Court also        imposed upon Washington a ten-year

period of ineligibility to receive federal benefits.
      Washington was released from prison in September 2015,

and his supervised release term commenced at that time.

Presently, Washington moves this Court to restore his ability
to receive federal benefits so that he may apply for financial

assistance and attend college.                 (Doc. 236.)

      Under 21 U.S.C. § 862(c) (B) , the period of ineligibility

imposed      under     the     statute    "shall     be    suspended        if   the
Case 6:09-cr-00041-JRH-CLR Document 239 Filed 05/19/17 Page 2 of 2




individual . . . has otherwise been rehabilitated."                      Thus, the

question placed       squarely before        the   Court    by Washington's

motion is whether he has been rehabilitated.                    The Government


has     left   the   decision    to   the   discretion      of    this     Court,

although it       points   out   in response       that Washington tested

positive       for methamphetamine     within      the   last    two months.

(Doc. 238.)       Given this all too recent violation of the terms

of    his   supervised release        and upon     consultation with             the

United States Probation Office, the Court cannot conclude that

Washington is rehabilitated.

        Upon the foregoing, Washington's motion to suspend the

period of ineligibility for federal benefits                     (doc.    236)    is

DENIED without prejudice to Washington to re-file six months

from now.


        ORDER ENTERED at Augusta, Georgia, this /y^hay of May,
2017.




                                            J. RA&BfeL HALL< CHIEF JUDGE
                                            UNITED JSTATES DISTRICT COURT
                                                         DISTRICT OF GEORGIA
